                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF ALASKA

 MICHAEL COLE,                                      Case No. 1:14-cv-0004-SLG

                Plaintiff,
                                                    STIPULATION TO DISMISS
 v.                                                 PURSUANT TO FED. R. CIV. P.
                                                    41(a)(1)(A)(ii)
 GENE BY GENE, LTD., a Texas limited
 liability company,

                Defendant.


       Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, Plaintiff Michael

Cole and Defendant Gene by Gene Ltd., by and through their undersigned counsel, hereby stipulate

and agree to the dismissal of Plaintiff Cole’s claims without prejudice, with each party to bear their

own attorneys’ fees and costs.

                                               Respectfully submitted,

                                               MICHAEL COLE,

Dated: December 9, 2019                        By: s/ Benjamin H. Richman
                                                      One of Plaintiff’s Attorneys



                                               GENE BY GENE LTD.,

Dated: December 9, 2019                        By: s/ Matt Wojcik
                                                      One of Defendant’s Attorneys




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                                SIGNATURE ATTESTATION

       I hereby attest that the content of this document is acceptable to all persons whose
signatures are indicated by a conformed signature (s/) within this e-filed document.

                                                    s/ Benjamin H. Richman

                                CERTIFICATE OF SERVICE

        I hereby certify that on December 9, 2019, I served the above and foregoing Stipulation to
Dismiss Pursuant to Fed R. Civ. P. 41, by causing true and accurate copies of such paper to be
filed and transmitted to all counsel of record via the Court’s CM/ECF electronic filing system.


                                                    s/ Benjamin H. Richman




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